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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS


JUDITH SHAULIS,

                       Plaintiff,

          v.                                        CIVIL ACTION NO.

NORDSTROM, INC. d/b/a NORDSTROM
RACK,

                       Defendant.


                                        NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§ 1332, 1441, 1442, 1446, defendant Nordstrom, Inc.

(“Nordstrom Rack”) hereby notices the removal of Case No. SUCV2014-03483 from the

Superior Court for Suffolk County, Commonwealth of Massachusetts. In support of this Notice,

Nordstrom Rack states:

                  1.       Nordstrom Rack is named as the defendant in a purported class action

brought by Judith Shaulis (“Plaintiff”) in the Superior Court for the County of Suffolk,

Massachusetts, bearing Civil Action No. 14-3483.           The original complaint was filed on

November 6, 2014. The Second Amended Complaint (“SAC”) was filed on December 24, 2014.

                  2.       Nordstrom Rack was not served with the original complaint or the First

Amended Complaint. Nordstrom Rack was served with the summons and SAC by process

server on January 12, 2015. A copy of the summons and SAC received by Nordstrom Rack is

attached hereto at Exhibit 1. Thus, Nordstrom Rack has timely removed this action to this Court

under 28 U.S.C. § 1446(b).




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                  3.    The above described action is one in which this Court has jurisdiction

pursuant to 28 U.S.C. §§ 1332, and is removable under the provisions of 28 U.S.C. §§ 1441-

1442 and 1446.

                  4.    Plaintiff purports to bring this action on behalf of herself and “[a]ll

individuals residing in the Commonwealth of Massachusetts who, within the applicable statute of

limitations preceding the filing of this action (including but not limited to from 11/2/10 through

the present – ‘Class Period’), purchased Nordstrom Rack Products.” (SAC ¶ 29.) Plaintiff

alleges common law claims for fraud, breach of contract and unjust enrichment, and violations of

940 CMR 6:01, the Federal Trade Commission Act, 15 U.S.C. §§ 45(a)(1) and 52(a), and M.G.L.

c. 93A . (Id. ¶¶ 38-53, 55-59, 60-62, 63-68, and 69-73)

                  5.    Plaintiff principally alleges that Nordstrom Rack “misrepresented the

existence, nature, and amount of price discounts on products: (a) manufactured exclusively for

Nordstrom Rack and sold at Nordstrom Rack; and (b) manufactured by other brands and sold at

Nordstrom Rack (collectively ‘Nordstrom Rack Products’) by purporting to offer discounts off of

fabricated former prices.” (Id. ¶ 2.) The term “Nordstrom Rack Products” expressly excludes

products sold at Nordstrom Rack stores that were actually previously offered for sale at

Nordstrom main line retail stores. (Id.) Plaintiff also alleges that “Nordstrom Rack’s website,

however, falsely suggests that the Nordstrom Rack Products are equivalent to the products sold

at Nordstrom’s main line retail stores: ‘Why Shop the Rack? Because we have the most current

trends and the brands you love for 30-70% off original prices—each and every day.’” (Id. ¶ 5.)

Plaintiff further alleges, “[t]he truth is that the Nordstrom Rack Products are not discounted off

‘original prices.’ Most Nordstrom Rack Products are seldom if ever offered for sale at the

Nordstrom main line retail stores and are typically of lesser quality.” (Id.)



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                  6.    The SAC seeks wide-ranging forms of relief on behalf of Plaintiff and the

purported class, including restitution and/or equitable relief, such as disgorgement of all profits

and unjust enrichment, injunctive relief, damages, including treble damages, attorneys’ fees and

costs, an award of pre- and post-judgment interest, and “such further relief as may be deemed

necessary or appropriate under the facts.” (Id. Prayers For Relief ¶¶ A-H.)

                  7.    Removal is based on the original jurisdiction of this Court as follows:

                     FEDERAL JURISDICTION EXISTS UNDER
          THE PROVISIONS OF THE FEDERAL CLASS ACTION FAIRNESS ACT

                  8.    The Class Action Fairness Act of 2005 grants federal district courts

original jurisdiction over civil class action lawsuits filed under federal or state law in which “any

member of a class of plaintiffs is a citizen of a State different from any defendant,” and “the

matter in controversy exceeds the sum or value of $5 million exclusive of interests and costs.” 28

U.S.C. § 1332(d)(2)-(5).

                  9.    Exceptions to this rule are contained in 28 U.S.C. § 1332(d)(3)-(5), none

of which are applicable here.

                  10.   28 U.S.C. § 1332(d)(6) provides that “[i]n any class action, the claims of

the individual class members shall be aggregated to determine whether the matter in controversy

exceeds the sum or value of $5 million exclusive of interests and costs.”

                  11.   This case is removable under the Class Action Fairness Act because the

Plaintiff and all putative class members are citizens of the Commonwealth of Massachusetts

while the sole defendant, Nordstrom Rack, is a Washington corporation with its principal place

of business in the State of Washington.




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                  12.   In general, the courts may consider attorney’s fees, punitive damages, and

treble damages in calculating the amount in controversy where such damages are authorized or

mandated by statute. See Youtsey v. Avibank Mfr., Inc., 734 F. Supp. 2d 230, 238 (D. Mass.

2010) (a statutory award of attorney’s fees should be included in the calculation the amount in

controversy); Baker v. Equity Residential Mgmt., L.L.C., 996 F. Supp. 2d 1, 7 (D. Mass. 2014)

(treble damages and attorney’s fees under Mass. Gen. L. c. 93A, § 9(3) may be considered when

calculating the jurisdictional minimum in a CAFA removal action); Guglielmino v. McKee

Foods Corp., 506 F. 3d 696, 700 (9th Cir. 2007) (upholding the inclusion of punitive damages in

the amount in controversy, which the trial court estimated using a 1:1 ratio to economic

damages, as well as the inclusion of attorneys’ fees, which the trial court estimated as 12.5% of

the alleged economic damages). Accordingly, the Court may consider the treble damages and

attorney’s fees that Plaintiff is seeking under Mass. Gen. L. c. 93A, § 9(3) when calculating the

jurisdictional minimum this case. .

                  13.   Although Nordstrom Rack denies that Plaintiff is entitled to any of the

relief sought, if recovered, the amount in controversy exceeds $5 million exclusive of interest

and costs. First, Plaintiff conservatively estimates that “the Class consists of thousands of

members,” but acknowledges that, “the precise number [of purported class members] is within

the knowledge of and can be ascertained only by resort to Nordstrom’s records.” (SAC ¶ 31)

(emphasis added.)       Second, Plaintiff alleges that “the aggregate damages sustained by the

[purported class] are in the millions of dollars . . . .” (SAC ¶ 35).

                  14.   Notwithstanding Plaintiff’s conservative allegations, Nordstrom Rack has

conducted hundreds of thousands of transactions within the State of Massachusetts over the

purported class period, each of which may involve “Nordstrom Rack Products.” Moreover, the



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gross amount of sales of “Nordstrom Rack Products” to purported class members during the

class period is in the multi-millions of dollars, and at least exceeds $2 million.

                  15.   Plaintiff seeks restitution of the cost of each item purchased by class

members during the class period, as well as contract and fraud damages, treble damages, and

attorneys’ fees and costs. (Id. Prayers For Relief ¶¶ A-H.)

                  16.   Even taking the most conservative damages estimate, based only on

Plaintiff’s allegations, and assuming the gross amount of the “millions” of dollars of sales of

Nordstrom Rack Products over the purported class period is only $2 million, a treble of that

amount (which excludes attorneys’ costs) would put the purported class’ damages at $6 million,

well over the jurisdictional threshold.

                  17.   Regardless of Plaintiff’s claims regarding the amount in controversy, a

removing defendant “need include only a plausible allegation that the amount in controversy

exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 135

S. Ct. 547, 554 (2014). Moreover, in determining the amount in controversy, the Court may look

beyond the complaint to determine whether the amount in controversy is met. See id. at 553-54

(recognizing that under § 1446, if the amount in controversy alleged in the notice of removal is

challenged, “both sides submit proof and the court decides, by a preponderance of the evidence,

whether the amount in controversy requirement is satisfied.”); see also Romulus v. CVS

Pharmacy, Inc., 770 F. 3d 67, 82 (1st Cir. 2014) (“holding that defendant’s estimate of damages

demonstrated a reasonable probability that the amount in controversy exceeded $5 million even

when accounting for the plaintiffs’ objections).

                  18.   In light of these facts, there is a reasonable probability the amount in

controversy exceeds five million dollars. Accordingly, this action is removable under the Class


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Action Fairness Act, 28 U.S.C. § 1332(d). Dart Cherokee Basin Operating Co., LLC, 135 S. Ct.

at 554; Romulus, 770 F. 3d at 82.

                        THE COURT SHOULD EXERCISE JURISDICTION
                                   OVER THIS ACTION

                  19.    This Court, therefore, has jurisdiction over this action pursuant to 28

U.S.C. §§ 1332, and removal of the action to this Court is proper pursuant to 28 U.S.C. §§ 1441,

1442 and 1446.

                  20.    Pursuant to 28 U.S.C. § 1446(d), Nordstrom Rack states that it shall

promptly file a copy of this Notice with the Clerk of the Superior Court for Suffolk County,

Commonwealth of Massachusetts.

          WHEREFORE, defendant Nordstrom Rack hereby removes the above-referenced action

now pending in the Superior Court for the County of Suffolk, Massachusetts, therefrom to this

Court.

Dated: February 11, 2015                      RESPECTFULLY SUBMITTED,

                                              MORGAN, LEWIS & BOCKIUS LLP

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                                CERTIFICATE OF SERVICE


        I, Julie Palmer, counsel for the defendant, Nordstrom, Inc. (“Nordstrom Rack”), do
hereby certify that on February 11, 2015, a true and accurate copy of the above document and
exhibits hereto was served by email and first class mail on all counsel of record, and were filed
by hand with the Clerk of the Courts for Suffolk County.


                                                          /s/ Julie Silva Palmer




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